         8:16-cr-00213-JMG-SMB           Doc # 33      Filed: 09/06/16       Page 1 of 6 - Page ID # 60

                                UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,                                      ORDER SETTING CONDITIONS OF
                                                                        RELEASE
                       Plaintiff,

       v.
                                                                        Case Number:8:16mc46 & 8:16cr213
IN RE GRAND JURY INVESTIGATION,
Juan Pablo Miranda-Pacheco,

                       Material Witness.


IT IS ORDERED that the release of the defendant is subject to the following conditions:
(1)    The defendant shall not commit any offense in violation of federal, state or local law while on release in
       this case.
(2)    The defendant must cooperate in the collection of a DNA sample if the collection is authorized by 42
       U.S.C. § 14135a.
(3)    The defendant shall immediately advise the court, defense counsel and the U.S. attorney in writing
       before any change in address and telephone number.
(4)    The defendant shall appear at all proceedings as required and shall surrender for service of any sentence
       imposed as directed.
       The defendant shall next appear at (if blank, to be notified):
       Roman L. Hruska U.S. Courthouse, 111 South 18th Plaza, Omaha, Nebraska,
       before John M. Gerrard, U.S. District Judge
       Courtroom No. 1 (Special Proceedings), at 9:00 a.m. on January 9, 2017.
                                     RELEASE ON UNSECURED BOND
IT IS FURTHER ORDERED that the defendant be released provided that:
☐     The defendant executes an unsecured bond binding the defendant to pay the United States the sum of
      dollars ($ .) in the event of a failure to appear as required or to surrender as directed for service of any
      sentence imposed.




                                                                                                      Page 1 of 6
         8:16-cr-00213-JMG-SMB           Doc # 33     Filed: 09/06/16     Page 2 of 6 - Page ID # 61

                           ADDITIONAL CONDITIONS OF RELEASE
       Upon finding that release subject to the above conditions will not by itself reasonably assure the
appearance of the defendant and the safety of other persons and the community,

       IT IS FUTHER ORDERED that the release of the defendant is also subject to the following
conditions.

     Court Supervision and Restrictions. The defendant shall:
☒    (a) Truthfully report to the United States Probation and Pretrial Services Office as directed [telephone
          no. (402) 661-7555] and comply with their directions.
☒    (f)  Obtain no passport. Surrender any passport to U.S. Pretrial Services.
☒    (l)  Not possess a firearm, destructive device, or other dangerous weapon.
☒    (m) Refrain from any use or possession of alcohol.
☒    (n) Not possess or use a narcotic drug or other controlled substances defined in 21 U.S.C. § 802 unless
          prescribed by a licensed medical practitioner.
☒    (s)  Report as soon as possible to the supervising officer any contact with law enforcement personnel,
          including, but not limited to, any arrest, questioning, or traffic stop.
          (y) Not leave the State of Nebraska.




                                                                                                      Page 2 of 6
         8:16-cr-00213-JMG-SMB             Doc # 33       Filed: 09/06/16         Page 3 of 6 - Page ID # 62

                             ADVICE OF PENALTIES AND SANCTIONS
TO THE DEFENDANT:
        YOU ARE ADVISED OF THE FOLLOWING PENALTIES AND SANCTIONS:
         A violation of any of the foregoing conditions of release may result in the immediate issuance of a warrant for
your arrest, a revocation of release, an order of detention, and a prosecution for contempt of court and could result in a
term of imprisonment, a fine, or both.
         The commission of any crime while on pre-trial release may result in an additional sentence to a term of
imprisonment of not more than ten years, if the offense is a felony; or a term of imprisonment of not more than one year,
if the offense is a misdemeanor. This sentence shall be in addition to any other sentence.
         Federal law makes it a crime punishable by up to five years of imprisonment, and a $250,000 fine or both to
intimidate or attempt to intimidate a witness, victim, juror, informant or officer of the court, or to obstruct a criminal
investigation. It is also a crime punishable by up to ten years of imprisonment, a $250,000 fine or both, to tamper with a
witness, victim or informant, or to retaliate against a witness, victim or informant, or to threaten or attempt to do so.
         If after release, you knowingly fail to appear as required by the conditions of release, or to surrender for the
service of sentence, you may be prosecuted for failing to appear or surrender and additional punishment may be imposed.
If you are convicted of:
         (1)      an offense punishable by death, life imprisonment, or imprisonment for a term of fifteen years or more,
                  you shall be fined not more than $250,000 or imprisoned for not more than ten years, or both;
         (2)      an offense punishable by imprisonment for a term of five years or more, but less that fifteen years, you
                  shall be fined not more than $250,000 or imprisoned for not more than five years, or both;
         (3)      any other felony, you shall be fined not more than $250,000 or imprisoned not more than two years, or
                  both;
         (4)      a misdemeanor, you shall be fined not more than $100,000 or imprisoned not more than one year, or both.
         A term of imprisonment imposed for failure to appear or surrender shall be in addition to the sentence for any
other offense. In addition, a failure to appear or surrender may result in the forfeiture of any bond posted.

                               ACKNOWLEDGMENT OF DEFENDANT
        I acknowledge that I am the defendant in this case and that I am aware of the conditions of release. I promise to
obey all conditions of release, to appear as directed, and to surrender for service of any sentence imposed. I am aware of
the penalties and sanctions set forth above.


                                                                 Signature of Defendant

                                                                 Address

                                                                 City and State                  Telephone

                          DIRECTIONS TO UNITED STATES MARSHAL

☒       The defendant is ORDERED released after processing.
☐       The United States marshal is ORDERED to keep the defendant in custody until notified by the clerk or judicial
        officer that the defendant has posted bond and/or complied with all other conditions of release. The defendant
        shall be produced before the appropriate judicial officer at the time and place specified, if still in custody.

DATED this 7th day of September, 2016.                           s/ Thomas D. Thalken
                                                                 United States Magistrate Judge



                                                                                                              Page 3 of 6
           8:16-cr-00213-JMG-SMB              Doc # 33       Filed: 09/06/16       Page 4 of 6 - Page ID # 63

                      TRIBUNAL DE DISTRITO DE LOS ESTADOS UNIDOS
                                DISTRITO DE NEBRASKA

ESTADOS UNIDOS DE AMÉRICA,                                         AUTO QUE DISPONE LAS CONDICIONES
                                                 Actor,                DE LIBERTAD PROVISIONAL

v.
                                                                         Causa Número: 8:16mc46 & 8:16cr213
IN RE GRAND JURY INVESTIGATION,
Juan Pablo Miranda-Pacheco,

                                         Material Witness.


SE RESUELVE excarcelar al acusado quien deberá cumplir con las siguientes condiciones:

     (1) El acusado no cometerá ninguna infracción en contra de las leyes federales, estatales o locales mientras esté en
         libertad condicional en este proceso.

     (2) El acusado deberá cooperar y permitir que se le tome una muestra de su ADN, si así lo dispone el art. 14135a del
         U.S.C. (Nota del traductor: U.S.C.: Código de los Estados Unidos, por sus siglas en inglés.)

     (3) El acusado deberá notificarles de inmediato, y por escrito, al juez, al abogado defensor y al fiscal antes de cambiar
         de domicilio o número de teléfono.

     (4) El acusado comparecerá a todas las audiencias y deberá entregarse ante las autoridades respectivas para cumplir
         con la pena que se le imponga según se le indique.

          La próxima comparecencia del acusado será:

          Roman L. Hruska U.S. Courthouse, 111 South 18th Plaza, Omaha, Nebraska,
          before John M. Gerrard, U.S. District Judge
          Courtroom No. 1 (Special Proceedings), at 9:00 a.m. on January 9, 2017.

                     LIBERTAD PROVISIONAL BAJO CAUCIÓN JURATORIA

  POR TANTO SE DECRETA la libertad provisional del acusado siempre y cuando cumpla con las siguientes
  condiciones::

      ☐      El acusado firmará una póliza de fianza donde se compromete a pagar a favor de los Estados Unidos
             la suma de dólares ($ ) en caso de no comparecer cuando le sea requerido o de no entregarse ante las
             autoridades respectivas para cumplir la pena que se le imponga.




                                                                                                                 Page 4 of 6
      8:16-cr-00213-JMG-SMB           Doc # 33   Filed: 09/06/16     Page 5 of 6 - Page ID # 64

          CONDICIONES ADICIONALES DE LA LIBERTAD PROVISIONAL
     De llegar a la conclusión de que ninguna de las condiciones de libertad provisional arriba mencionadas
basta por sí sola para garantizar la comparecencia del acusado o la seguridad de otras personas y de la
comunidad en general,

    SE ORDENA ADEMÁS que mientras esté en libertad provisional, el acusado cumpla con las
    condiciones que se indican a continuación:


    Supervisión por parte del juzgado y restricciones. El acusado deberá:
☒   (a) Reportarse puntualmente ante la Oficina de Condena Condicional y Servicios Previos al Juicio de
         los Estados Unidos cuando le sea requerido [teléfono No. (402) 661-7555] y obedecer sus
         instrucciones.
☒   (f)  No sacar pasaporte. Entregarle su(s) pasaporte(s) al agente de Servicios Previos al Juicio de los
         EE. UU.
☒   (l)  Abstenerse de poseer armas de fuego, aparatos destructivos o cualquier otra arma peligrosa.
☒   (m) Abstenerse del consumo o posesión de bebidas alcohólicas.
☒   (n) Abstenerse de poseer o de usar todo tipo de estupefacientes así como todo tipo de substancia
         regulada según la definición en el art. 802 título 21 U.S.C. a menos que se las haya recetado un
         médico autorizado.
☒   (s)  Informarle lo antes posible al agente supervisor acerca de cualquier contacto que tenga con
         agentes de las fuerzas del orden público incluyendo, entre otras cosas, aprehensiones,
         interrogatorios o detenciones de tránsito.

    (y) Not leave the State of Nebraska.




                                                                                             Página 5 de 6
            8:16-cr-00213-JMG-SMB             Doc # 33       Filed: 09/06/16                   Page 6 of 6 - Page ID # 65

                           ADVERTENCIA DE LAS PENAS Y SANCIONES
AL ACUSADO:
       SE LE ADVIERTE QUE SE EXPONE A LAS SIGUIENTES PENAS Y SANCIONES:
           De incumplir con cualquiera de las condiciones de libertad provisional arriba mencionadas se emitirá de
  inmediato una orden de captura, la revocación de la libertad provisional, un auto judicial de detención y se le encausará
  por desacato al juez. Ello podrá tener como resultado el que se le imponga una pena de prisión, una multa o ambas cosas.
           De cometer un delito mientras se encuentre bajo el régimen de libertad provisional, recibirá una penaadicional de
  prisión por un máximo de diez años si se trata de un delito grave; o de máximo un año si es un delito menos grave. Esta
  pena se sumará a cualquier otra pena que se le imponga.
           De conformidad con la ley federal, el intimidar o tratar de intimidar a un testigo, una víctima, un miembro de un
  jurado, un informante o un funcionario judicial constituye un delito punible con hasta cinco años de prisión o una multa de
  $250.000 o con ambos, la prisión y la multa. También es un delito punible con hasta diez años de prisión o una multa de
  $250.000 o con ambos, la prisión y la multa, el manipular a un testigo, una víctima o un informante o el tomar represalias,
  o la tentativa de represalias, en contra de un testigo, víctima o informante.
           Si, mientras esté en libertad provisional, a sabiendas usted no comparece según lo exigen estas condiciones o no
  se entrega para cumplir con la pena que se le imponga, se inciará un nuevo proceso en su contra por no haber comparecido
  o no haberse entregado. Dicho proceso estará sujeto a una de las penas adicionales que se indican a continuación, según el
  tipo de condena que usted haya recibido:
           (1)      si el delito es castigable con pena capital, cadena perpetua o pena de prisión de quince años o más, se le
                    cobrará una multa máxima de $250.000 o se le enviará a prisión por un máximo de diez años o ambas
                    cosas;
           (2)      si el delito es castigable con una pena de prisión de cinco años o más, pero menos de quince, se le cobrará
                    una multa máxima de $250.000 o se le enviará a prisión por un máximo de cinco años o ambas cosas;
           (3)      por cualquier otro delito grave, se le cobrará una multa máxima de $250.000 o se le enviará a prisión por
                    un máximo de dos años o ambas cosas;
           (4)      si se trata de un delito menos grave, se le cobrará una multa máxima de $100.000 o se le enviará a prisión
                    por un máximo de un año o ambas cosas.
           El período de prisión que se impone por no comparecer o no entregarse a las autoridades se sumará a la pena por
  cualquier otro delito. Además el no comparecer o no entregarse a las autoridades puede traer como consecuencia el
  decomiso de la fianza.
                                          CERTIFICACIÓN DEL ACUSADO
          Certifico que soy el acusado en esta causa y que estoy consciente de las condiciones de libertad provisional.
  Prometo obedecer todas las condiciones de libertad provisional, comparecer cuando se me indique, y entregarme para
  cumplir con la pena que se me imponga. Estoy consciente de las penas y sanciones previamente indicadas.
                                                                                                                          Defendant-Spanish




                                                                      09/06/2016 02:52:34 pm

                                                                    Firma del acusado

                                                                    Dirección

                                                                    Ciudad y estado                          Teléfono
                INSTRUCCIONES PARA LA OFICINA DE LOS ALGUACILES FEDERALES
  ☒       Se ORDENA poner en libertad al acusado después de ficharlo.
  ☐       Se ORDENA a los alguaciles federales retener al acusado en custodia hasta que el secretario del juzgado o el
          agente judicial les notifique que el acusado ha depositado la fianza o ha cumplido con todas las condiciones de
          libertad provisional. Deberán traer al acusado ante la autoridad judicial respectiva en el lugar, día y hora
          señalados, si todavía está bajo custodia.

  Fecha: DATED this 7th day of September, 2016.                     s/ Thomas D. Thalken
                                                                    Juez de Garantías de los Estados Unidos


                                                                                                                        Página 6 de 6
